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OAO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                      EASTERN District of CALIFORNIA

                   United States of America                         )
                              v.                                    )
                                                                    )   Case No: 1:05CR00443-001
                      LINDA CALLOW AY
                                                                    )   USM No: 62605-097
Date of Previous Judgment: 9/13/2006                                )   David Porter, Asst. Federal Defender
(Use Date of Last Amended Judgment if Applicable)                   )   Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of X the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.    X GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 50            months is reduced to 40 months                  .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    29               Amended Offense Level:                                            27
Criminal History Category: I                Criminal History Category:                                        I
Previous Guideline Range: 87  to 108 months Amended Guideline Range:                                          70        to   87   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
X Other (explain):   Court originally departed downward per government request and similar departure below the range
                     was ordered in amended sentence.




III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated 9/13/2006                   shall remain in effect.
IT IS SO ORDERED.

Order Date:         5/23/2008                                                           /s/ OLIVER W. WANGER
                                                                                                 Judge’s signature


Effective Date:                                                                  Oliver W. Wanger, U. S. District Judge
                     (if different from order date)                                            Printed name and title
